Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 1 of 22 Page ID #:1




 1 Alexander E. Potente (State Bar No. 208240)
   Alex.Potente@clydeco.us
 2
   Matthew Elmaraghi (State Bar No. 326380)
 3 Matthew.Elmaraghi@clydeco.us
   CLYDE & CO US LLP
 4
   150 California Street, 15th Floor
 5 San Francisco, California 94111
   Telephone: (415) 365-9800
 6
   Facsimile: (415) 365-9801
 7
   Attorneys for Plaintiff
 8 IRONSHORE SPECIALTY
 9 INSURANCE COMPANY
10
                               UNITED STATES DISTRICT COURT
11
                              CENTRAL DISTRICT OF CALIFORNIA
12
13
      IRONSHORE SPECIALTY                           Case No.
14    INSURANCE COMPANY,
15                                                  IRONSHORE SPECIALTY
                      Plaintiff,                    INSURANCE COMPANY’S
16                                                  COMPLAINT FOR
17              v.                                  DECLARATORY JUDGMENT;
                                                    JURY DEMAND
18    COUNTY OF SAN BERNARDINO,
19                                                  (28 U.S.C. § 2201 and 28 U.S.C § 1332)
                      Defendant.
20
21
22             Plaintiff Ironshore Specialty Insurance Company (“Ironshore”) brings this
23 complaint seeking a declaratory judgment against defendant County of San
24 Bernardino (the “County”) and, in support thereof, alleges as follows:
25                                 NATURE OF THE ACTION
26             1.    This is an action for a declaratory judgment in which Ironshore seeks a
27 declaration that it has no duty to indemnify the County for any portion of a $69 million
28 settlement paid to Colonies Partners, L.P. (“Colonies”), Jeffrey Burum, Paul Biane,
     6932602                             1                          Case No.
       IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                        Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 2 of 22 Page ID #:2




                                                         1 and Mark Kirk (collectively, the “Colonies II Plaintiffs”), or to reimburse the County
                                                         2 for any defense costs incurred in defending certain lawsuits brought by the Colonies
                                                         3 II Plaintiffs.
                                                         4         2.       Those lawsuits (the “Colonies II Actions”) were as follows:
                                                         5                        a. Burum v. Cnty. of San Bernardino, C.D. Cal., No. 5:18-cv-
                                                         6                           00672;
                                                         7                        b. Colonies Partners, LP v. Cnty. of San Bernardino, C.D. Cal.,
                                                         8                           No. 5:18-cv-00420;
                                                         9                        c. Erwin v. Cnty. of San Bernardino, C.D. Cal., No. 5:18-cv-
                                                        10                           01216;
                                                        11                        d. Kirk v. Cnty. of San Bernardino, C.D. Cal., No. 5:18-cv-01597;
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12                        e. Biane v. Cnty. of San Bernardino, C.D. Cal., No. 5:18-cv-
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                        13                           02202; and
                                                        14                        f. DeFazio v. Cnty. of San Bernardino, C.D. Cal. No. 5:18-cv-
                                                        15                           00554.
                                                        16         3.       In the Colonies II Actions, the Colonies II Plaintiffs alleged that the
                                                        17 County, San Bernardino County District Attorney Michael Ramos, Assistant District
                                                        18 Attorney James Hackleman, and District Attorney’s Office Investigators Hollis
                                                        19 Randles and Robert Schreiber (collectively the “Colonies II Defendants”), among
                                                        20 others, engaged in a conspiracy to retaliate against the Colonies II Plaintiffs as part of
                                                        21 a decades-long dispute over land and water rights in Upland, California, culminating
                                                        22 in a malicious prosecution of Burum, Biane, Kirk, and other agents of Colonies,
                                                        23 resulting in multiple violations of 42 U.S.C. § 1983 (“§ 1983”).
                                                        24         4.       As detailed more fully in the Colonies II Plaintiffs’ respective amended
                                                        25 complaints, the Colonies II Plaintiffs alleged, inter alia, that the Colonies II
                                                        26 Defendants (1) retaliated against the Colonies II Plaintiffs in violation of § 1983;
                                                        27 (2) maliciously prosecuted the Colonies II Plaintiffs; (3) engaged in a conspiracy
                                                        28 against the Colonies II Plaintiffs in violation of § 1983; (4) fabricated evidence against
                                                                                                2                          Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                        Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 3 of 22 Page ID #:3




                                                         1 the Colonies II Plaintiffs in violation of § 1983; (5) were liable under a Monell v.
                                                         2 Dept. of Social Servs. theory of liability under § 1983; and (6) were liable to the
                                                         3 Colonies II Plaintiffs under § 1983 supervisory liability.
                                                         4        5.     Following the denial of significant portions of the Colonies II
                                                         5 Defendants’ motions for summary judgment in the Colonies II Actions, in October of
                                                         6 2020, the Colonies II Defendants settled the Colonies II Actions for $69 million, paid
                                                         7 by the County (the “Colonies II Settlement”).
                                                         8        6.     The Colonies II Settlement was entered into without the consent of
                                                         9 Ironshore.
                                                        10        7.     Ironshore issued commercial excess insurance policy no. 000541500 to
                                                        11 the County for the policy period July 1, 2010 to July 1, 2011 (the “Ironshore Policy”).
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12 A true and correct copy of this policy is attached hereto as Exhibit A.
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                        13        8.     Because the only remaining claims against the Colonies II Plaintiffs
                                                        14 following summary judgment were for willful acts in violation of § 1983, coverage
                                                        15 for the Colonies II Settlement is barred by California Insurance Code § 533, which
                                                        16 prohibits insurance coverage for willful acts of the insured.
                                                        17        9.     Additionally, as detailed below, because the County breached other
                                                        18 provisions of the Ironshore Policy, and because other terms and exclusions of the
                                                        19 Ironshore Policy and underlying insurance policies apply, the County cannot establish
                                                        20 that there is coverage for this matter, as such terms and exclusions preclude any
                                                        21 possibility of coverage for the Colonies II Settlement.
                                                        22        10.    For these reasons and those detailed more fully below, Ironshore has no
                                                        23 duty to indemnify the County for the Colonies II Settlement or reimburse it for any
                                                        24 defense costs it incurred in the Colonies II Actions.
                                                        25                                       PARTIES
                                                        26        11.    Plaintiff Ironshore is a corporation organized and existing under the laws
                                                        27 of Arizona, with its principal place of business in Massachusetts.
                                                        28
                                                                                                3                          Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                        Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 4 of 22 Page ID #:4




                                                         1          12.   Defendant County of San Bernardino is a public entity in California, with
                                                         2 its county seat located in the city of San Bernardino, California.
                                                         3                             JURISDICTION AND VENUE
                                                         4          13.   This Court has subject matter jurisdiction pursuant to 28 U.S.C.
                                                         5 §§ 1332(a)(1), because there is complete diversity between plaintiff Ironshore and
                                                         6 defendant County, and as the amount in controversy exceeds $75,000, exclusive of
                                                         7 interest and costs.
                                                         8          14.   This Court also has original jurisdiction by virtue of the Declaratory
                                                         9 Judgments Act, 28 U.S.C. § 2201(a), because this matter presents a case of actual
                                                        10 controversy. This matter presents a case of actual controversy because the County
                                                        11 has demanded Ironshore, upon the exhaustion of underlying insurance, indemnify the
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12 County and reimburse its defense costs under the Ironshore Policy in connection with
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                        13 the $69 million Colonies II Settlement, and Ironshore disputes that it owes the County
                                                        14 any duty to indemnify for the Colonies II Settlement or to reimburse its defense costs.
                                                        15          15.   Venue is proper in this Court under 28 U.S.C. §§ 1391(b)(1) and (2)
                                                        16 because the only defendant resides in the State of California, the only defendant
                                                        17 resides in this judicial district, and a substantial part of the events giving rise to the
                                                        18 claim occurred in this judicial district.
                                                        19          16.   This action is filed in the Eastern Division of the United States District
                                                        20 Court for the Central District of California in compliance with Central District of
                                                        21 California General Order 349.
                                                        22                              FACTUAL ALLEGATIONS
                                                        23 A.       The Applicable Insurance Policies
                                                        24          17.   The Ironshore Policy is commercial excess insurance policy no.
                                                        25 000541500 issued by Ironshore to the County as named insured, subject to all of its
                                                        26 terms.
                                                        27          18.   The Ironshore Policy has an effective period of July 1, 2010 to July 1,
                                                        28 2011.
                                                                                                4                          Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                        Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 5 of 22 Page ID #:5




                                                         1         19.   The Ironshore Policy provides certain coverage excess of a $52.5 million
                                                         2 retention per occurrence, per claim, or per loss and in the aggregate where applicable.
                                                         3         20.   The Ironshore Policy is subject to applicable limits of $10 million per
                                                         4 occurrence, per claim, or per loss and in the aggregate where applicable.
                                                         5         21.   The Ironshore Policy’s Insuring Agreement provides in part as follows:
                                                         6         I.    COVERAGE
                                                         7                   A. This Policy shall provide the Insured with Commercial Excess
                                                         8                      Liability Insurance coverage in accordance with the same
                                                         9                      warranties, terms, conditions, exclusions and limitations as are
                                                        10                      contained, on the Inception Date of this Policy, in the Controlling
                                                        11                      Underlying Policy, subject to the premium, limits of liability,
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12                      retention, policy period, warranties, exclusions, limitations and
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                        13                      any other terms and conditions of this Policy, including any and
                                                        14                      all   endorsements    attached    hereto,   inconsistent   with   or
                                                        15                      supplementary to the Controlling Underlying Policy.
                                                        16                                       *     *      *
                                                        17 See Exhibit A, p. 13.
                                                        18         22.   The Ironshore Policy is a fourth-layer excess policy, meaning there are
                                                        19 four underlying policies below the Ironshore Policy in the coverage tower.
                                                        20         23.   The “Controlling Underlying Policy” identified in the Ironshore Policy
                                                        21 is an immediately underlying policy issued by Great American Insurance Company
                                                        22 of New York.
                                                        23         24.   The three immediately underlying policies below the Ironshore Policy
                                                        24 provide coverage in accordance with the coverages of their respective underlying
                                                        25 policy, subject to applicable limits, retentions, policy periods, warranties, exclusions,
                                                        26 limitations, terms, and conditions.
                                                        27         25.   The three immediately underlying policies below the Ironshore Policy
                                                        28 ultimately provide coverage in accordance with the coverages of policy no.
                                                                                                5                          Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                        Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 6 of 22 Page ID #:6




                                                         1 71P2000037-101, issued to the County by Everest National Insurance Company (the
                                                         2 “Everest Policy”), subject to applicable limits, retentions, policy periods, warranties,
                                                         3 exclusions, limitations, terms, and conditions. A true and correct copy of the Everest
                                                         4 Policy is attached hereto as Exhibit B.
                                                         5        26.     The insuring agreement of the Everest Policy provides, in part, as
                                                         6 follows:
                                                         7        SECTION I. COVERAGES
                                                         8        A. INSURING AGREEMENTS
                                                         9                                             ***
                                                        10              2. ERRORS AND OMISSIONS LIABILITY
                                                        11                We will pay on behalf of the insured, the “ultimate net loss”, in
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12                excess of the “retained limit”, that the insured becomes legally
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                        13                obligated to pay to compensate others for loss arising out of your
                                                        14                “wrongful act” to which this insurance applies and takes place in
                                                        15                the “coverage territory” during the Policy Period.
                                                        16                                             ***
                                                        17 See Exhibit B, p. 5.
                                                        18        27.     The Everest Policy defines “ultimate net loss” as “the total sum, after
                                                        19 reduction for recoveries or salvages collectible, actually paid or payable due to a
                                                        20 ‘claim’ or ‘suit’ for which you are liable either by a settlement to which we agreed or
                                                        21 a final judgment, and shall include defense costs.”
                                                        22        28.     The Everest Policy definitions section defines “wrongful act” in part as
                                                        23 follows:
                                                        24        Any actual or alleged error or misstatement, omission, negligent act, or
                                                        25        breach of duty including misfeasance, malfeasance, and nonfeasance by
                                                        26        you, including, but not limited to, those constituted by:
                                                        27                                           ***
                                                        28        2.      Any negligent ministerial act;
                                                                                                6                          Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                        Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 7 of 22 Page ID #:7




                                                         1                                          ***
                                                         2        “Wrongful act” also means any “personal injury offense” or
                                                         3        “advertising injury offense.”
                                                         4 See Exhibit B, p. 23.
                                                         5        29.   “Personal injury offense” is defined by the Everest Policy in part as
                                                         6 follows:
                                                         7        Z.    “Personal injury offense” means any act, error, or omission
                                                         8              constituted by or arising out of one or more of the following:
                                                         9                                          ***
                                                        10              2.     Malicious prosecution;
                                                        11                                          ***
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12 See Exhibit B, p. 20.
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                        13        30.   The “Exclusions” section of the Everest Policy contains the following
                                                        14 exclusions, among others:
                                                        15        This insurance does not apply to a “claim” or “suit” against you for:
                                                        16                                          ***
                                                        17        15.   Any liability arising out of criminal, fraudulent, dishonest or
                                                        18              malicious acts or omissions committed by or at the direction of
                                                        19              the insured.
                                                        20
                                                                                                    ***
                                                        21
                                                                        This exclusion does not apply to liability arising from the
                                                        22
                                                                        managerial, advisory, supervisory, or controlling obligations of
                                                        23
                                                                        any insured over the actions of another insured.
                                                        24
                                                                  16.   Any liability arising out of your "wrongful act" for gain, profit,
                                                        25
                                                                        or advantage to which you are not legally entitled.
                                                        26
                                                                                                    ***
                                                        27
                                                        28
                                                                                                7                          Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                        Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 8 of 22 Page ID #:8




                                                         1                 This exclusion does not apply to liability arising from the
                                                         2                 managerial, advisory, supervisory, or controlling obligations of
                                                         3                 any insured over the actions of another insured.
                                                         4 See Exhibit B, p. 10.
                                                         5        31.      The Ironshore Policy contains a “Retention” section which provides as
                                                         6 follows:
                                                         7        A. The Limits of Liability stated in Item 3 of the Declarations of this
                                                         8              Policy apply in excess of:
                                                         9                 1.    The total of the limits of liability of the Underlying Policies
                                                        10                       applicable on a per occurrence, per claim, or per loss basis, but in
                                                        11                       no event in an amount less than the total of the per occurrence,
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12                       per claim or per loss limits of liability of the Underlying
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                        13                       Policies stated in Item 4 of the Declarations of this Policy.
                                                        14                 2.    The total of the limits of liability of the Underlying Policies
                                                        15                       applicable on an aggregate basis, where an b [sic] amount is
                                                        16                       shown in the aggregate limit of liability of the Underlying
                                                        17                       Policies stated in Item 4 of the declarations of this Policy, but in
                                                        18                       no event in an amount less than the aggregate limits of liability
                                                        19                       of the Underlying Policies stated in Item 4 of the Declarations
                                                        20                       of this Policy.
                                                        21 See Exhibit A, p. 13.
                                                        22        32.      The Everest Policy contains the following condition:
                                                        23         3.      Duties in The Event of an "Occurrence", "Wrongful Act",
                                                        24                 "Employment Practice Liability Wrongful Act", "Employee
                                                        25                 Benefit Wrongful Act" or "Claim" or `Suit"
                                                        26                 a.    You must see to it that we are notified as soon as
                                                        27                       practicable of an "occurrence", "wrongful act",
                                                        28                       "employment practice liability wrongful act", or
                                                                                                8                          Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                        Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 9 of 22 Page ID #:9




                                                         1                      "employee benefit wrongful act", regardless of the
                                                         2                      amount, which may result in a "claim". . . .
                                                         3                b.    If a "claim" is made or "suit" is brought against any
                                                         4                      insured, you must:
                                                         5                      (1)    Immediately record the specifics of the “claim” or
                                                         6                             “suit” and the date received; and
                                                         7                      (2)    Notify us as soon as practicable.
                                                         8 See Exhibit B, p. 14.
                                                         9          33.   The Everest Policy also contains a “no action” clause which provides
                                                        10 that it may only be sued for an “agreed settlement,” meaning a “settlement and release
                                                        11 of liability signed by us, the insured and the claimant or the claimant’s legal
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12 representative.”
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                        13          34.   The Everest Policy defines “ultimate net loss” in relevant part as liability
                                                        14 “either by a settlement to which we agreed or a final judgment[.]”
                                                        15          35.   There is no provision of the Everest Policy that provides coverage for
                                                        16 settlements entered into by the County to which Everest or any other insurer did not
                                                        17 agree.
                                                        18          36.   The Everest Policy confers a right on Everest to defend suits against the
                                                        19 County.
                                                        20          37.   The Ironshore Policy also requires the insured to provide notice to
                                                        21 Ironshore of any claim or suit, as follows:
                                                        22          a.    The Insured shall, as a condition precedent to the obligations of
                                                        23                the Insurer under this Policy, give written notice as soon as
                                                        24                practicable to the Insurer of any occurrence, offense, claim or
                                                        25                suit likely to involve this policy.
                                                        26 See Exhibit A, p. 17.
                                                        27          38.   The Ironshore Policy also contains the following provision regarding the
                                                        28 insured’s assistance and cooperation obligations:
                                                                                                9                          Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                  Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 10 of 22 Page ID #:10




                                                         1        C.    ASSISTANCE AND COOPERATION
                                                         2                                     *         *   *
                                                         3              2.    The Insured shall not, except at its own expense, settle any
                                                         4                    claim or suit or incur any defense costs for any amount to
                                                         5                    which this Policy applies without the Insurer’s written
                                                         6                    consent.
                                                         7 See Exhibit A, p. 14.
                                                         8        39.   The Everest Policy contains the following arbitration provision:
                                                         9              SECTION IV. GENERAL CONDITIONS
                                                        10                                    *       *      *
                                                        11              11. Arbitration
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12              Any dispute arising from or relating to this Policy shall be
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                        13              submitted to arbitration. Either party may commence arbitration
                                                        14              by making a written demand to the other. When this demand is
                                                        15              made, each party will select an arbitrator. The two arbitrators will
                                                        16              select a third. If they cannot agree within thirty (30) days, either
                                                        17              may request that selection be made by a judge of a court having
                                                        18              jurisdiction. Each party will:
                                                        19              1. Pay the expenses it incurs, including the expenses of the
                                                        20              arbitrator it appoints; and
                                                        21              2. Bear the expenses of the third arbitrator equally.
                                                        22              Unless both parties agree otherwise, arbitration will be in the
                                                        23              county or parish in which the address shown in the Declarations is
                                                        24              located, and the panel will be relieved of any strict rules of
                                                        25              procedure. A decision agreed to by two of the arbitrators will be
                                                        26              binding and final.
                                                        27 See Exhibit B, p. 17.
                                                        28
                                                                                                10                         Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                  Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 11 of 22 Page ID #:11




                                                         1        40.    The Ironshore Policy provides that disputes under the Ironshore Policy
                                                         2 shall be submitted to a “Court of competent jurisdiction within the United States,” as
                                                         3 follows:
                                                         4               VI. CONDITIONS
                                                         5               A. CONSENT TO JURISDICTION
                                                         6               1. The Insurer, at the request of the Insured, will submit to the
                                                         7               jurisdiction of a Court of competent jurisdiction within the
                                                         8               United States. Nothing in this clause constitutes or should be
                                                         9               understood to constitute a waiver of the Insurer’s right to
                                                        10               commence an action in any Court of competent jurisdiction of
                                                        11               the United States, to remove an action to a United States District
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12               Court, or to seek a transfer of a case to another Court as
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                        13               permitted by the laws of the United States or of any State in the
                                                        14               United States. It is further agreed that service of process in such
                                                        15               suit may be made upon the party named in Item 7 of the
                                                        16               Declarations of this Policy, and that in any suit instituted against
                                                        17               the Insurer to effectuate arbitration or to enforce any award
                                                        18               entered in such arbitration, the Insurer will abide by the final
                                                        19               decision of such Court or of any Appellate Court in the event of
                                                        20               an appeal.
                                                        21 See Exhibit A, p. 16.
                                                        22 B.     The Colonies II Actions
                                                        23               i.    Colonies I Lawsuit, Settlement, and Political Donations
                                                        24        41.    The allegations in the Colonies II Actions originated out of a dispute
                                                        25 dating back to 1997 between the County, on one hand, and Colonies, its partners, and
                                                        26 agents, on the other. See First Amended Complaint, at ¶ 29, Colonies Partners, L.P.
                                                        27 v. County of San Bernardino, No. 18-00420 (C.D. Cal. July 25, 2018), ECF No. 64,
                                                        28 2018 WL 8300102.
                                                                                                11                         Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                  Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 12 of 22 Page ID #:12




                                                         1         42.    In 1997, Colonies purchased 434 acres of land in Upland, California for
                                                         2 development. See id.
                                                         3         43.    As part of the construction of the Highway 210 extension through
                                                         4 Colonies’ parcel of land, it allegedly became necessary to designate an area for water
                                                         5 runoff from that project and the related 20th Street Storm Drain through the creation
                                                         6 of a flood control basin. See id.
                                                         7         44.    Colonies alleged that San Bernardino County Flood Control District
                                                         8 executive director Ken Miller attempted to trick Colonies into building the flood
                                                         9 control basin on Colonies’ land, at its own expense, without paying for the land. See
                                                        10 id. at ¶ 30.
                                                        11         45.    Colonies claimed that, in response to Miller’s overture, Colonies offered
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12 to turn over the necessary acreage to the County to allow the County to build the flood
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                        13 control basin itself. See id.
                                                        14         46.    Colonies alleged that the County refused, insisting that easements dating
                                                        15 from the 1930s entitled the County to redirect flood waters onto Colonies’ property,
                                                        16 up to 80 million gallons of water per hour. See id. at ¶¶ 30-31.
                                                        17         47.    Colonies also alleged that the County also argued that it had received
                                                        18 consent to direct this water onto Colonies’ property from Colonies. See id. at ¶ 31.
                                                        19         48.    In response to this dispute, Colonies filed a quiet title action in San
                                                        20 Bernardino County Superior Court (“Colonies I”). See id. at ¶ 32.
                                                        21         49.    After seven years of litigation, including appeals, the San Bernardino
                                                        22 County Superior Court issued a statement of intended decision in favor of Colonies
                                                        23 in the quiet title action. See id. at ¶ 34.
                                                        24         50.    According to Colonies, this decision would have paved the way for
                                                        25 Colonies to recover over $300 million from San Bernardino County in a subsequent
                                                        26 inverse condemnation action. See id. at ¶ 35.
                                                        27         51.    Also according to Colonies, despite four of five County supervisors
                                                        28 voting in favor of settling the quiet title action, County attorneys and officials
                                                                                                12                         Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                  Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 13 of 22 Page ID #:13




                                                         1 continued to actively oppose a settlement through various actions, including through
                                                         2 inserting “poison pills” into proposed settlement agreements. See id. at ¶ 36.
                                                         3        52.    In response to this opposition, Colonies began a public pressure strategy
                                                         4 to try to effectuate a settlement. See id. at ¶¶ 38-39.
                                                         5        53.    Specifically, Colonies retained a former state senator and a media
                                                         6 consultant to publicly criticize County officials’ handling of the dispute. See id. at ¶
                                                         7 39.
                                                         8        54.    Ultimately, on November 28, 2006, County supervisors voted 3-2 to
                                                         9 settle Colonies I for $102 million in exchange for Colonies agreeing to release its
                                                        10 damages claims and transferring the disputed land to the County for flood control
                                                        11 purposes. See id. at ¶ 43.
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12        55.    Following the settlement, Colonies made political donations to political
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                        13 action committees associated with County supervisors and others who had supported
                                                        14 the settlement and who, according to Colonies, would advance other pro-development
                                                        15 policies. See id. at ¶ 44.
                                                        16               ii.    Prosecution of Colonies II Plaintiffs and Taxpayer Action
                                                        17        56.    According to Colonies, in response to the Colonies I settlement, the San
                                                        18 Bernardino County District Attorney’s Office and California Attorney General’s
                                                        19 Office opened a public integrity investigation into Colonies with respect to the
                                                        20 settlement of Colonies I and the associated political contributions made by Colonies.
                                                        21 See id. at ¶ 45.
                                                        22        57.    The Colonies II Plaintiffs claimed that this prosecution was a “vendetta”
                                                        23 initiated in response to Colonies’ and Burum’s public criticism of the County and
                                                        24 County officials with respect to the handling of Colonies I. See id. at ¶ 51.
                                                        25        58.    The Colonies II Plaintiffs alleged facts relating to a conspiracy against
                                                        26 Colonies dating back to as early as 2005, when the public leak of a key confidential
                                                        27 memorandum caused Colonies I settlement negotiations to cease. See id. at ¶ 46.
                                                        28
                                                                                                13                         Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                  Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 14 of 22 Page ID #:14




                                                         1         59.   The Colonies II Plaintiffs alleged an escalation of a “vendetta” began in
                                                         2 2008, when the San Bernardino County District Attorney’s Office enlisted County
                                                         3 Assistant Assessor Adam Aleman as a prosecution witness. See id. at ¶¶ 51-54.
                                                         4         60.   The San Bernardino County District Attorney’s Office was allegedly
                                                         5 aware that Aleman had been caught secretly recording a County supervisor related to
                                                         6 Colonies I, but sought to cover this fact up, and concoct a justification for the
                                                         7 recording. See id.
                                                         8         61.   According to Colonies, Aleman also had been caught misleading a grand
                                                         9 jury, leading to felony charges of changing subpoenaed documents. See id. at ¶ 52.
                                                        10         62.   Following ongoing investigative efforts, in 2009, the San Bernardino
                                                        11 County District Attorney and State Attorney General’s office announced the
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12 convening of an “investigative” grand jury with respect to the Colonies I settlement.
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                        13 See id. at ¶¶ 58-59.
                                                        14         63.   The Colonies II Plaintiffs alleged that this announcement was directly
                                                        15 made in response to Colonies partner Jeffrey Burum’s active role with respect to the
                                                        16 Colonies I lawsuit and in Republican Party politics, as well as to deflect attention from
                                                        17 a separate investigation into the San Bernardino County District Attorney Michael
                                                        18 Ramos’s improper relationships with subordinates. See id. at ¶¶ 57-59.
                                                        19         64.   The Colonies II Plaintiffs alleged this investigation was retaliatory for
                                                        20 multiple reasons relating to their litigation successes and support for County political
                                                        21 opponents. See id. at ¶ 62.
                                                        22         65.   In February 2010, the San Bernardino County District Attorney’s Office
                                                        23 filed criminal complaints against several individuals, including the former Chairman
                                                        24 of the County Board of Supervisors, Colonies’ lobbyist, and the founder of a political
                                                        25 action committee that received a $100,000 donation from Colonies. See Colonies
                                                        26 Partners LP v. County of San Bernardino, 2020 WL 5102160, at *9 (C.D. Cal. July
                                                        27 28, 2020).
                                                        28
                                                                                                14                         Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                  Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 15 of 22 Page ID #:15




                                                         1        66.    In May 2011, the County District Attorney’s office obtained a grand jury
                                                         2 indictment against Colonies partner Jeffrey Burum, Colonies lobbyist James Erwin,
                                                         3 County Supervisor Paul Biane, and Mark Kirk, Chief of Staff for another county
                                                         4 supervisor. See id. at *10.
                                                         5        67.    According to Colonies, the indictment alleged these individuals
                                                         6 conspired to settle Colonies I on terms favorable to Colonies in exchange for political
                                                         7 contributions. See Second Amended Complaint, at ¶¶ 107, 125, Burum v. County of
                                                         8 San Bernardino, No. 18-00672 (C.D. Cal. July 25, 2018).
                                                         9        68.    In February of 2012, two private taxpayer groups filed a civil lawsuit
                                                        10 against Colonies seeking to invalidate the Colonies I settlement under Government
                                                        11 Code §1090. See First Amended Complaint, at ¶ 118, Colonies Partners, L.P. v.
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12 County of San Bernardino, No. 18-00420 (C.D. Cal. July 25, 2018), ECF No. 64,
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                        13 2018 WL 8300102.
                                                        14        69.    This taxpayer action was dismissed in 2016. See id. at ¶ 126.
                                                        15        70.    Colonies demanded that the County defend and indemnify it pursuant to
                                                        16 the terms of the Colonies I Settlement, but the County refused to do so. See id. at ¶
                                                        17 118.
                                                        18        71.    On October 23, 2017, Colonies demanded that the County indemnify it
                                                        19 for legal fees and costs incurred in the taxpayer groups lawsuit in an amount in excess
                                                        20 of $32 million. See id. at ¶ 131.
                                                        21        72.    On August 28, 2017, Jeffrey Burum was acquitted in the criminal action
                                                        22 following a trial. The remaining charges against the remaining defendants were
                                                        23 dropped. See id. at ¶¶ 5, 47. Nevertheless, the County District Attorney continued to
                                                        24 attempt to pursue an investigation of Burum even after his acquittal. See Colonies
                                                        25 Partners, LP v. County of San Bernardino, 2020 WL 5102160, at *35 (July 28, 2020).
                                                        26
                                                        27
                                                        28
                                                                                                15                         Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                  Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 16 of 22 Page ID #:16




                                                         1               iii.   Colonies II Wrongful Prosecution Lawsuits
                                                         2         73.   As listed in Paragraph 2 above, in 2018, Colonies, Burum, and four other
                                                         3 individuals sued San Bernardino County in the United States District Court for the
                                                         4 Central District of California.
                                                         5         74.   Those complaints brought claims against the County for First
                                                         6 Amendment retaliation under 42 U.S.C. § 1983 (“§ 1983”), malicious prosecution
                                                         7 under § 1983, and other related claims under § 1983.
                                                         8         75.   In those complaints, the Colonies II Plaintiffs also brought causes of
                                                         9 action for breach of contract, negligence, and intentional infliction of emotional
                                                        10 distress.
                                                        11         76.   As part of the claims in those complaints, the Colonies II Plaintiffs
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12 alleged that the defendants initiated fraudulent and illegitimate criminal investigations
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                        13 into Colonies and its management, publicly threatened to use the criminal process to
                                                        14 take back the $102 million Colonies I settlement, and manipulated and fabricated false
                                                        15 evidence against the plaintiffs.
                                                        16         77.   In those complaints, the Colonies II Plaintiffs alleged that the
                                                        17 investigations were retaliatory with the preordained goal of convicting the plaintiffs,
                                                        18 in retaliation for exercising their First Amendment rights and for obtaining a favorable
                                                        19 settlement against the County.
                                                        20         78.   In those complaints, the Colonies II Plaintiffs sought damages in the
                                                        21 form of lost income, lost business opportunities, loss of reputation, litigation
                                                        22 expenses, attorneys’ fees, exemplary and punitive damages.
                                                        23               v.     Partial Summary Judgment, Settlement of Colonies II, Tender to
                                                        24                      Ironshore, and Arbitration Demand
                                                        25         79.   On July 28, 2020, the Colonies II court issued an order and opinion in
                                                        26 part granting in part and denying in part San Bernardino County’s motion for
                                                        27
                                                        28
                                                                                                16                         Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                  Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 17 of 22 Page ID #:17




                                                         1 summary judgment. See Colonies Partners, LP v. County of San Bernardino, 2020
                                                         2 WL 5102160 (July 28, 2020).
                                                         3         80.   As part of this opinion, the court cited to multiple examples of retaliatory
                                                         4 motives on the part of the County and evidence of fabrication of evidence, declining
                                                         5 to dismiss § 1983 claims against the County, its district attorneys, and investigators.
                                                         6 See, e.g., id. at *12.
                                                         7         81.   The court granted the defendants’ motion for summary judgment with
                                                         8 respect to the plaintiffs’ negligence and intentional infliction of emotional distress
                                                         9 claims, and with respect to Colonies’ breach of contract claims. See id. at *15.
                                                        10         82.   The court also granted summary judgment against two plaintiffs, James
                                                        11 Erwin and John DeFazio, with respect to all their claims. See id. at *14.
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12         83.   Following various complaint amendments, and after dismissal of certain
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                        13 claims by the court, the following claims brought by Colonies, Burum, Kirk, and
                                                        14 Biane remained: (1) retaliation under § 1983 against District Attorney Ramos and
                                                        15 Assistant District Attorney Hackleman; (2) Monell municipal liability under § 1983
                                                        16 against San Bernardino County; (3) supervisory liability under § 1983 against Ramos
                                                        17 and Hackleman; (4) malicious prosecution against Ramos and Hackleman under §
                                                        18 1983; (5) conspiracy under § 1983 against Ramos and Hackleman; and (6) fabrication
                                                        19 of evidence under § 1983 against Hollis Bud Randles and Robert Schreiber, San
                                                        20 Bernardino County Public Integrity Unit investigators. See generally id.
                                                        21         84.   The surviving claims brought by Colonies itself were claims for
                                                        22 retaliation, Monell municipal liability, supervisory liability, and conspiracy. See id.
                                                        23         85.   The County defended these claims with counsel that it appointed.
                                                        24         86.   The County did not actually notify Ironshore of the Colonies II Actions
                                                        25 until June of 2022.
                                                        26         87.   The County first attempted to tender the Colonies II Actions to Ironshore
                                                        27 over two years after the Colonies II Actions were first filed and served upon the
                                                        28 County.
                                                                                                17                         Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                  Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 18 of 22 Page ID #:18




                                                         1         88.   On September 29, 2020, and October 1, 2020, the County engaged in a
                                                         2 two-day mediation.
                                                         3         89.   The County settled the Colonies II lawsuit for a total of $69,000,000 (the
                                                         4 “Colonies II Settlement”).
                                                         5         90.   The County paid for the Colonies II Settlement with its own funds.
                                                         6         91.   This mediation occurred less than two months after the County first
                                                         7 attempted to provide notice to Ironshore.
                                                         8         92.   Ironshore never received notice of the mediation before it occurred.
                                                         9         93.   Ironshore did not have an opportunity to participate in the mediation
                                                        10 because of its lack of notice.
                                                        11         94.   The County did not seek Ironshore’s written consent before entering into
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12 the Colonies II Settlement.
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                        13         95.   The County did not receive the written consent of Ironshore before
                                                        14 entering into this settlement.
                                                        15               vi.     Arbitration Demand
                                                        16         96.   On June 17, 2022, the County for the first time properly tendered this
                                                        17 matter to Ironshore at “usclaims@ironshore.com.”
                                                        18         97.   Less than a month thereafter, on July 15, 2022, the County demanded
                                                        19 that Ironshore participate in an arbitration regarding the Colonies II Settlement.
                                                        20                              FIRST CLAIM FOR RELIEF
                                                        21                     (Declaratory Judgment – No Duty to Indemnify)
                                                        22         98.   Ironshore incorporates by reference the allegations of paragraphs 1
                                                        23 through 97 as though the same were set forth herein.
                                                        24         99.   Pursuant to the DECLARATORY JUDGMENTS ACT, 28 U.S.C. § 2201,
                                                        25 Ironshore is entitled to a judicial determination concerning the parties’ rights and
                                                        26 obligations, if any, under the Ironshore Policy in connection with the Colonies II
                                                        27 Actions.
                                                        28
                                                                                                18                         Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                  Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 19 of 22 Page ID #:19




                                                         1         100. Ironshore has no duty under the Ironshore Policy to indemnify the
                                                         2 County for the Colonies II settlement.
                                                         3         101. The Colonies II Actions and resulting Colonies II Settlement all arose
                                                         4 out of the willful or intentional acts of the County, its district attorneys, or
                                                         5 investigators.
                                                         6         102. The Colonies II Settlement did not resolve any claims for negligent
                                                         7 conduct, as such claims had been dismissed by the Colonies II court on summary
                                                         8 judgment.
                                                         9         103. California Insurance Code § 533 prohibits coverage for willful conduct
                                                        10 as a matter of law.
                                                        11         104. Therefore, there can be no coverage for the Colonies II Settlement as a
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12 matter of law.
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                        13         105. Alternatively, there is no coverage for the Colonies II Settlement under
                                                        14 the Ironshore Policy because coverage is excluded by one or more of the Everest
                                                        15 Policy’s exclusions, including the following:
                                                        16             SECTION I. COVERAGES, D. EXCLUSIONS, 15. Liability arising
                                                        17                out of criminal, fraudulent, dishonest or malicious acts or omissions.
                                                        18             SECTION I. COVERAGES, D. EXCLUSIONS, 16. Liability arising
                                                        19                out of your "wrongful act" for gain, profit, or advantage to which you are
                                                        20                not legally entitled.
                                                        21         106. Alternatively, there is no coverage available or limited under the
                                                        22 Ironshore Policy because the County has failed to satisfy all applicable retentions and
                                                        23 exhaust available underlying insurance.
                                                        24         107. Additionally, Ironshore is not obligated to indemnify the County for
                                                        25 those portions of the settlement attributable to actions that did not trigger the Ironshore
                                                        26 Policy.
                                                        27
                                                        28
                                                                                                19                         Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                  Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 20 of 22 Page ID #:20




                                                         1         108. In defending the Colonies II Actions and entering into the Colonies II
                                                         2 Settlement, the County was in breach of the notice, cooperation, and consent to
                                                         3 settlement provisions of the Ironshore Policy.
                                                         4         109. Ironshore has complied with all of its obligations under the Ironshore
                                                         5 Policy.
                                                         6         110. Accordingly, Ironshore is entitled to a declaration that it has no duty
                                                         7 under the Ironshore Policy to indemnify the County for the Colonies II Settlement.
                                                         8                           SECOND CLAIM FOR RELIEF
                                                         9           (Declaratory Relief – No Obligation to Reimburse Defense Costs)
                                                        10         111. Ironshore incorporates by reference the allegations of paragraphs 1
                                                        11 through 110 as though the same were set forth herein.
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12         112. The Ironshore Policy and underlying policies only have a duty to defend
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                        13 for claims where coverage is available those policies, subject to all of their terms.
                                                        14         113. Furthermore, any duty to defend under the Ironshore Policy is only
                                                        15 triggered upon notice of a claim being provided to the insurers, including Ironshore.
                                                        16         114. Ironshore had no duty to defend the Colonies II Actions because the
                                                        17 County failed to provide notice of those lawsuits before the Colonies II Settlement
                                                        18 was reached, abrogating the duty to defend.
                                                        19         115. Because coverage is not available under the Ironshore Policy, Ironshore
                                                        20 had no duty to defend the County for the Colonies II Actions.
                                                        21         116. Ironshore also can have no duty to defend until all underlying coverage
                                                        22 is exhausted.
                                                        23         117. Because Ironshore had no obligation to defend the County for the
                                                        24 Colonies II Actions, it also has no obligation to reimburse the County for defense
                                                        25 costs it incurred in the Colonies II Actions.
                                                        26         118. Accordingly, Ironshore is entitled to a declaration that it has no duty
                                                        27 under the Ironshore Policy to reimburse the County for any defense costs it incurred
                                                        28 in defending the Colonies II Actions.
                                                                                                20                         Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                  Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 21 of 22 Page ID #:21




                                                         1                            THIRD CLAIM FOR RELIEF
                                                         2                  (Declaratory Relief – No Arbitration Obligation)
                                                         3        119. Ironshore incorporates by reference the allegations of paragraphs 1
                                                         4 through 118 as though the same were set forth herein.
                                                         5        120. There is no arbitration provision in the Ironshore Policy.
                                                         6        121. The Ironshore Policy provides that Ironshore will submit to a court of
                                                         7 competent to jurisdiction in the United States for resolution of disputes arising under
                                                         8 the Ironshore Policy.
                                                         9        122. The Ironshore Policy provides that it retains the right to commence an
                                                        10 action in any court of competent jurisdiction in the United States.
                                                        11        123. Accordingly, Ironshore is entitled to a declaration that it has no
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12 obligation to submit any dispute with the County to arbitration.
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                        13                                PRAYER FOR RELIEF
                                                        14        WHEREFORE, Ironshore Specialty Insurance Company respectfully requests
                                                        15 the Court to enter an order:
                                                        16        1.     Declaring that, under the Ironshore Policy, Ironshore has no duty to
                                                        17               indemnify the County for the Colonies II Settlement or reimburse the
                                                        18               County for defense costs incurred in defending the Colonies II Actions;
                                                        19        2.     Declaring that Ironshore has no obligation to arbitrate its disputes with
                                                        20               the County under the Ironshore Policy; and
                                                        21        3.     Declaring and granting such other and further relief as may be
                                                        22               necessary and appropriate under the circumstances, including all other
                                                        23               relief available at law or in equity to which Ironshore may be entitled
                                                        24               and which this Court deems just and proper.
                                                        25
                                                        26
                                                        27
                                                        28
                                                                                                21                         Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
                                                  Case 5:22-cv-01524-JAK-PD Document 1 Filed 08/29/22 Page 22 of 22 Page ID #:22




                                                         1 Dated: August 29, 2022                      CLYDE & CO US LLP
                                                         2
                                                                                                       By:
                                                         3
                                                                                                             Alexander E. Potente
                                                         4                                                   Matthew Elmaraghi
                                                         5                                                   Attorneys for Plaintiff
                                                                                                             IRONSHORE SPECIALTY
                                                         6                                                   INSURANCE COMPANY
                                                         7
                                                         8                           DEMAND FOR TRIAL BY JURY
                                                         9         PLEASE TAKE NOTICE that Ironshore Specialty Insurance Company
                                                        10 hereby demands a trial by jury as to all issues so triable.
                                                        11 Dated: August 29, 2022                      CLYDE & CO US LLP
                    San Francisco, California 94111
                    150 California Street, 15th Floor




                                                        12
                      Telephone: (415) 365-9800
CLYDE & CO US LLP




                                                                                                       By:
                                                        13
                                                                                                             Alexander E. Potente
                                                        14                                                   Matthew Elmaraghi
                                                        15                                                   Attorneys for Plaintiff
                                                                                                             IRONSHORE SPECIALTY
                                                        16                                                   INSURANCE COMPANY
                                                        17
                                                        18
                                                        19
                                                        20
                                                        21
                                                        22
                                                        23
                                                        24
                                                        25
                                                        26
                                                        27
                                                        28
                                                                                                22                         Case No.
                                                              IRONSHORE SPECIALTY INS. CO.’S COMPLAINT FOR DECLARATORY JUDGMENT
